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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Unknown Party,                                    No. CV-18-01623-PHX-DWL
10                  Plaintiff,                         ORDER
11   v.
12   Arizona Board of Regents, et al.,
13                  Defendants.
14
15           In response to the Court’s October 26, 2021 order (Doc. 174), Plaintiff filed a one-
16   page unopposed motion to file under seal an unredacted version of the Lake report. (Doc.

17   176.) The motion states only that the redactions include “the true names of certain
18   individuals designated under the Protective Order as ‘Protected Persons’ and . . .

19   information that would reveal Plaintiff’s true identity if publicly filed without redaction.”

20   (Id. at 2.)
21           Plaintiff has offered no justification for sealing a portion of footnote 272 on page
22   57 of the report or of footnote 345 on page 72 of the report. These passages do not

23   contain “information that would reveal Plaintiff’s true identity if publicly filed without

24   redaction.” (Id. at 2.) Thus, these passages may not be redacted. The remaining

25   redactions are the names of Protected Persons and are permissible.

26           Accordingly,
27           IT IS ORDERED that Plaintiff’s unopposed motion to file under seal an
28   unredacted version of the Lake report (Doc. 176) is granted in part and denied in part.
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 1   Plaintiff shall file in the public record a version of the Lake report that contains only
 2   those redactions that were highlighted in the sealed unredacted version submitted at Doc.
 3   177-1, except the material in footnote 272 on page 57 and footnote 345 on page 72,
 4   which must be publicly viewable.
 5         Dated this 8th day of November, 2021.
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